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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

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AMERICAN MEDICAL RESPONSE,

INC.,

CITY OF STOCKTON, a California
Municipality ,

IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

a Delaware Corporation,
Plaintiff,

vs.

Defendants.

AND RELATED CROSS ACTIONS

DEPOSITION OF W. GARY GILLIS, FIRE CHIEF
DATE: Friday, August 5, 2005 at 1:00 p.m.

DEPOSITION OFFICER: BOBBIE JO HARR
CSR No. 6090, RMR

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
. Stockton, California 95202
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FAX (209) 942-2150

No. 2:05-CV-01316-DFL-PAN

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W. GARY GILLIS, FIRE CHIEF,
the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MS. BARNES **
Ms. BARNES: Q. Good afternoon. Could you state
your name for the record?
A. William Gareth Gillis. That's it.
Q. Should I call you Chief Gillis?
A. You can call me Chief Gillis, Gary, whatever you
want.
Q. Okay. Chief Gillis, I already introduced myself.
My name is Page Barnes. I represent American Medical
response in its litigation with the City of Stockton...
Just before we get started, have you ever had

your deposition taken before?

A. Yes, ma'am.
Q. Okay. Roughly how many times?
A. Six or seven, I guess.

Q. Okay. You've probably been through this before,
though, but just for the record, I just wanted to go over
a few of the ground rules for what was going £6 be going.
on here this afternoon.

A. This is Michael Rishwain. He's Assistant City

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Attorney.

MS. BARNES: Hi. Why don't we go off the record
for one second.

(Off the record.)

MS. BARNES: Q. Let's go back on.

As I said, I just wanted to go over a few of
the grounds rules. .

You've already taken an oath, and that's the
same oath that you would take as if you were appearing
in a court of law.

Do you understand that?

A. Yes, ma'am.

Q. Okay. As we're going through the process this
afternoon, I'm going to be asking you a series of
questions. The court reporter here is going to be taking
down a transcript of what we say here today.

For that reason, if you could wait until f
finish my questions, and I will try and wait until you
finish your answer before we speak again, because that
way it will make her job much easier and the transcript
much clearer.

Do you understand that?

A. Yes.

Q. Okay. If there's any question you don't

understand, please let me know. I will try and rephrase

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it. If you don't tell me that you have a problem with the.

question, I'm going to assume you understand it.
Is that okay?
A. Yes.
Q. All right. And last but not least, you're doing
a good job of this so far, but please make sure to give
audible answers, in terms of yes or no. Shakes of the
head, uh-huh's, huh-unhs, won't come across in the
transcript.
- So will you try to do. that?
A. Yes.
0. Okay, thank you.
Is there any reason why you are not able to
give accurate testimony this afternoon?
A. No.

Q. Okay. Or truthful testimony?

A. No.

Q. Could you tell me what your current position is?

A. I am the Fire Chief for the City of Stockton.

Q. How long have you been Fire Chief for the City of
Stockton?

A. Little over five years.

Q. What was your position before that?

A. Deputy Fire Chief for Operations for the City of
Stockton.

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Q. Okay. As part of your responsibilities, are you
responsible for negotiating or drafting agreements on
behalf of the fire department?

MR. HIGGINS: I object. That's vague.

THE WITNESS: You object?

MS. BARNES: Q. Unless he instructs you not to
answer.

MR. HIGGINS: I'm sorry, it is just for the
record.

THE WITNESS: Partially.

MS. BARNES: Q. Okay. In what ways are you

responsible for that?

A. I share responsibility with others.
Q. Okay. And who would those other people be?
A. That would depend on the agreement or contract or

whatever we wére talking about. It could be any number of
people in city government, from City Manager's office,
from the Human Resources Department, from Housing and
Redevelopment. It depends on what you're looking for.

Q. Okay. In connection with the provision of
ambulance services in the City of Stockton, have you ever
been involved in negotiating or drafting agreements?

A. Yes.

Q. Okay. Was anyone else from the City of Stockton

involved in the process of negotiating or drafting

agreements relating to the provision of the ambulance
services?

MR. HIGGINS: That's vague and ambiguous.

THE WITNESS: Yes.

MS. BARNES: Q. Okay. Prior to 2003, were you
involved in any sort of negotiations relating to the
provision of ambulance services within the City of
Stockton?

A. Prior to 2003?

Q. Right.

MR. HIGGINS: I'm sorry, can I have that question

read back.

(Whereupon the record was read.)

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MR. HIGGINS: It is vague, "any sort of." Iti
confusing.

THE WITNESS: I'm struggling with that question,
because I cannot recall exactly when. we started to do

that.

MS. BARNES: Q. Okay. At some point in time did

you become involved in issues related to who was going to

provide ambulance services in the City of Stockton?

Q. Okay. When did you first get involved in that

process?

A. If I understand the question -- could you give me

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MS. BARNES: Yes.

THE WITNESS: Who should be providing?

I don't know how to answer that question. I'm
sorry, the question --

MR. HIGGINS: Okay.

THE WITNESS: I don't understand the question.

MR. HIGGINS: Well, maybe she can explore it,
what you didn't understand about it.

MS. BARNES: Could you read the question back.

(Whereupon the record was read.)

THE WITNESS: I would have to say no.

MS. BARNES: Q. Okay. Do you know whether
anyone else from the city had discussions with
representatives of the county about who should be
providing ambulance services in Stockton?

A. I don't know, no.

Q. Is the Stockton Fire Department currently
involved in providing ambulances services within the city?

A. Yes.

Q. Okay. How long has the fire department been
doing that?

A. Since approximately September of 2002.

Q. Before September of 2002, who was providing
ambulance services in the city?

A. Within the City of Stockton would have been AMR,
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and A-1 would be the preeminent providers. [I don't

believe -- there was sporadically others, but nothing of
Significance.
Q. At some point in time, did the Stockton Fire

Department decide that it wanted to get involved in

providing ambulance services?

A Yes
Q. Okay. When did discussions about that first
start?

A. Probably -- to be quite frank with you, there had
been discussions of that since the Stockton Fire
Department started the paramedic program in '75. Se 1975,
but off and on. Most recently, since I've been Fire
Chief, sometime time Late in 2001.

Q. And were you involved in those discussions,
starting in late 2001?

A. Yes.

Q. What was your understanding of the reasons why
the fire department wanted to get involved in providing
ambulance services?

A. We felt that the provision for ambulance services
from the private providers was less than what the citizens
of Stockton deserved and expected ‘on the emergency side,
911 ambulances.

Q. Can you give me an idea of what some of the

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deficiencies were that you weré concerned about?

MR. HIGGINS: That's vague.

THE WITNESS: “We were concerned that oftentimes
the metropolitan Stockton area had few or no ambulances
available for emergency response, and it became a very
frequent happening, running out of resources.

MS. BARNES: Q. When the city -- excuse me.
When the fire department decided that it might want to get
into the provision of ambulance services, did the fire
department perform any sort of financial analysis of what
it might cost the city?

A. Yes.

Q. Okay. Who did that analysis?

A. Members of my staff.

Q. .Do you remember any names?

A. I would think that Dave Hafey, Ed Rodriguez, Mark

Parret, Ray Call.
There may have been others.

Q. Up to the time when the city started providing
ambulance services, which I think you said was in
September of 2002, was there any discussion about whether
the fire department should become the exclusive providers
of ambulance services in the city?

A. I believe so, yes.

Q. What do you recall about those discussions?

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A. I recall that there were individuals in city
-government and within my department who felt that we could
provide a much higher level of service to the citizenry on
the emergency side.

But any discussion on the nonemergency side was
very brief and most people agreed with me that that
should be better handled by private enterprise.

So there was never any serious discussion
around me, at least, of taking over the entire ambulance
service within the city.

Q.- Were there any discussions of taking over the

nonemergency services, just having the fire department do

those?
A. Nonemergency? No.
Q. Excuse me. Strike -- let me -- let me ask

another question.
Were there any discussions of the fire
department exclusively doing emergency services,

ambulance services?

A. Yes.

Q. Okay. What do you recall about those
discussions?

A. Well, that was a long time ago, so I can say that

there was many, many discussions, and many, many venues

with many, many different people.

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To summarize, I would say that cur goal was
then and has been, and I've been very careful with this
to try to guide this in this direction, that we would
work hand in hand with private enterprise and be an
addition to, to supplant private enterprise -- not
supplant, to -- to support and dedicate ourselves to the
911 system, which they don't do, typically.

So around me, at least my attitude has never
been to take over completely any -- any portion of the
amoulance service, but has been. to be in addition to on
the emergency side.

Q. I think you told me that before the fire
department got involved in actually providing ambulance
services there had been a financial analysis done, rignt?

A. Yes.

Q. Okay. What did -- what was your understanding of
what the financial impact would be if the financial
department took over -- excuse me, if the fire department
started providing ambulance services in the city?

MR. HIGGINS: Vague as to time.

THE WITNESS: I don't understand the question.

MS. BARNES: Q: Okay. Let me try --

A. To whom?
Q. You said there was a financial analysis done,
rignt?

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entire staff and -- and our labor group. There was a lot

of discussion on that issue.

Q. Okay. what do you recall about what your staff
told you about why the county was interested in entering
into these exclusive operating agreements?

A. That's a tough question, because I don't think my
staff told me anything. I think we had discussions, anda
lot of it was supposition. It was a little difficult to
get any hard and fast information as to what or why,
because those decisions were being made at the board

level.

Q. What was the -- I'm sorry.

A. At the Board of Supervisors.

Q. What was the suppositions?

A. The county had a -- an emergency services -- EMS

Agency, Emergency Medical Services Agency, who was, in our
estimation, under-staffed and under-funded. And they were
having a difficult time controlling the ambulance
Situation in San Joaquin County.

They saw us enter into the system because we
were able to, and then more and more ambulance companies
started to come into, specifically Stockton, but also
Lodi and Tracy, Hughson Ambulance, Priority One
Ambulance, First Responder. There was even some

inquiries from some others. So there was a rapidly

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expanding number of ambulances in'the streets, which was
good for the consumer.

But there was a lot of complaints flying
around. Ambulance wars, they were talking about. So,
you know, there was accusations of people jumping calis.
In other words, taking calls away from other people.

And just issue after issue that the EMS Agency and the
County Board of Supervisors. felt needed to have more
control. And since the -- excuse me.

The tenancy in the state is to have exclusive
éperating areas. They felt that it was time to do that
in San Joaquin County. That was our take on it.

Q. At some point in time did you learn that the
county was considering putting out a request for proposals
relating to the provision of ambulance services throughout
the county?

A. Yes.

Q. Okay. How did you learn about that?

A. I don't recall.

Q. What was the fire department's reaction when you
learned that the county was going to put out a request for
proposals?

MR. HIGGINS: That's vague.

THE WITNESS: We were opposed to their position,

initially.
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MS. BARNES: Q. Why was that?

A. I don't recall.

Q. And after your initial opposition, what happened
then?

A. Well, we thought that we would enter into a

public private partnership, because we never considered
doing it by ourselves in the first place.
Q. Why did you never consider doing it by yourself?
A. As I stated previously, we were only interested
in the emergency side, number one. Number two, we had
‘always seen ourselves as an addition to, as opposed to an
exclusive sole provider.
Q. Why were you only interested in the emergency
ambulance service?
A. That's what we do.
MR. HIGGINS: I think that's been asked and
answered.
THE WITNESS: We're in the emergency business.
MS. BARNES: Q. So when the fire department
decided that it wanted to enter into some sort of private
public partnership, what did the department do to advance
that?
A. What did we do to advance that? Well, if I
understand the question, I believe we let it be known that

we were looking for a partner or partners. And I
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believe -- I know I used the term on multiple occasions,
we would court all suitors.

Q. Who did you talk to about -- what other private
entities did you talk to about entering into some sort of
partnership with them?

MR. HIGGINS: And this is the fire department or
Chief Gillis?

MS. BARNES: The fire department.

THE WITNESS: I think we talked to probably a
dozen different providers. Some in the county, some
dutside the county.

MS. BARNES: Q. Can you name names?

A. Well, I know I personally talked to Hughson
Ambulance, I talked to AMR, I talked to A-1l Ambulance. I
talked to First Responder out of Sacramento. And I got
phone calls from probably three or four other ambulance
companies whose names I don't recall at this time that I
personally talked to, and I know that people in my. staff
talked to others, also.

Q. And eventually you decided to get involved with
AMR in the provision of ambulance services?

A. AMR and A-1.

Q. Right. How -- why did you choose to partner up
with them?

A, Actually, I believe they chose us. Lou Meyer had
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always talked about public private partnerships. He was

the CEO of -~ of AMR. Donna McCann had been a long term
provider in this area. She had talked about it. She was
goed friends with Lou. And they didn't particularly care
for some of the other ambulance companies. So they kind
of nixed the other folks.

Q. Did you have any other providers offer to partner
up with the city?

A. Yes.

Q. And why did you decide not to partner up with
those providers?

A. We didn't.

Q. They decided not to?

A. No. AMR decided that they didn't want them.

Q. So was it your impression that AMR had to be part
of the -- the program that was going to provide ambulance
services?

MR. HIGGINS: That's argumentative.

THE WITNESS: Had to be? No.

MS. BARNES: Q. I'm just trying to understand.
You said AMR didn't want to partner up with anybody else.
They chose you. You were in discussions with other
people. Did you feel like the fire department had to have
AMR involved in the process?

A. I wouldn't say nad to, no.
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Q. Okay. So why was it that you decided to go with
AMR, as opposed to doing it with somebody else?
A. We didn't decide to go with just AMR. We decided

to go with AMR and A-1.

Q. Did you consider any other options besides that
relationship?

A. Yes.

Q. Okay. And why did you decide to go with the AMR,

A-l partnership, as opposed to the other options?

A. We had long-term relationships with these folks,
and they were long-term providers in this county. And
they had objections to some of the other ambulance
companies, so that's how it shook out.

Q. Prior to the time that you decided to enter into
this relationship with AMR and A-1, what sort of

relationship, if any, had the fire department had with

AMR?

MR. HIGGINS: That's confusing.

THE WITNESS: Do you mean me or the entire
department -- I don't really understand the question.

There's a lot of people in the fire department.
MS. BARNES: Q. I understand.
How about you?
A. Me?

Q. Yeah,

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are the folks that I remember in particular, because those
were the ones we were hammering out the issues with.
Q. If I could direct your attention to the second

page of Exhibit 1, paragraph four.

A. Yes.

Q. Do you remember any discussions about paragraph
four?

A. Yes.

Q. What do you recall about those discussions?

A. I recall that it was agreed by the parties that

what we were trying to do was create, in essence, a
marriage, and that we were entering into a joint
partnership for the purposes of responding to an
anticipated RFP, and that the intent was we would be
attached to the hip, basically, and either bid -- in other
words, you can't withdraw. You can't withdraw. Otherwise
you would not be allowed to bid, if you did withdraw, you
would not be allowed to bid.

C. And --

A. So that gave everybody that level of -- of
comfort with each other.

Q. And in this -- is it your understanding that you
wouldn't be allowed to bit for Zones 1, 2 and 3, or would
it be anywhere in the county?

A. You know, I'm not real clear on that right now.
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MS. BARNES: You're free to object.
(Whereupon Mr. Rishwain left the proceedings.)
MS. BARNES: Q. Actually, rather than spending
an hour reading through this, let's forget about Exhibit
2.
A. Okay. Sorry.
Q. No, that's okay.
At some point in your time -- at some point in
time, is it your understanding that the fire department
gave AMR confidential information?

A. Yes.

Q. Okay. What confidential information did the fire

department give to AMR?

MR. HIGGINS: Excuse me. You're asking him
personally what he knows?

MS. BARNES: Yes.

THE WITNESS: I know that we gave them financial
information, as far as our collection rates, our payor

mix, Our numbers for transport, our costs and revenue,

among other things. Because those are not statistics that

I would compile, but those are general categories of

statistics that I would -- that I know that they received,

because I was there when they were looking at them, or had
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. Okay. With respect to collection rates, now did
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A. I wouldn't think so, but I have no personal

knowledge of that.

Q. How about with respect to any other city, do you
know whether information related to costs have been shared
with any other city?

MR. HIGGINS: Ambulance costs?

MS. BARNES: Yes, thank you.

THE WITNESS: Other than the City of Lodi, I have
no personal knowledge. And I'm not sure exactly how much
Lodi knows or has been shown.

MS. BARNES: ©. How about with respect to
revenues, do you have personal knowledge about whether
information about revenues has been shared with anyone ~-
any fire department, other than Lodi, in connection with
this RFP process?

A. I don't even believe that's been shared with
Lodi. May have been, but I don't see a reason for it.

Q. Have you ever had any conversations with anyone
regarding the collection rates related to the ambulance
services?

I'm sorry, that was a bad question.

Have you ever had any conversations with anyone
other than a city employee about collection rates

related to the provision of ambulance services?

A. Yes.

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MR. HIGGINS: Any conversations with attorneys
are privileged, so don't say anything about attorneys.

MS. BARNES: Q. Who have you discussed it with?

MR. HIGGINS: Other than attorneys.

THE WITNESS: Our billing service folks, and
several people with AMR, including Lou Meyer, Brad White,
Barry Elzig, and some of his other financial folks, whose
names I don't know.

MS. BARNES: Q. Anyone else?

MR. HIGGINS: Other than attorneys

tepresenting -~- other than attorneys representing the

THE WITNESS: Discussed collection rates?

MS. BARNES: Q. Yes.
A. That's not something I would discuss, typically,
with other people that didn't need to know that
information, so I would say no.

Q. Okay.

A. We were told very early on by AMR and other folks
in the business that this type of information was
extremely sensitive and should be maintained confidential.

Q. Who told you that?

A. Lou Meyer and many people in his organization.

Q. You said he told you this type of information.

What did you mean by that?
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A. Those types of things. And what they said was it

would reflect the market, and that's how you make the bid.

Q. Anything else, other than those areas?
A. I'm sure I'm. missing a couple.
Q. Did AMR ever give the City information about its

-OWwn payor Mix?

A. I heard conversations concerning that, and I
don't believe I ever saw anything. And there was
complaints from my folks that the information seemed to be
flowing one way, from us to AMR.

Q. Who complained about that?

A. Those folks that were working on the -- on the
bid with AMR, or on the RFP process with AMR.

Q. And that would be Hafey, Rodriguez --

A. That would be Ed Hafey, Ed Rodriguez. And they
had people helping them, so there was other folks involved
with it also.

Q. Do you know whether AMR ever gave its information

about its collection rates?

A. I don't know. I never saw it.
Q. Were you ever involved in any conversations with
AMR in which information about its payor mix was -- AMR's

payor mix was discussed?
A. Yes.

Q. What do you recall about those discussions?

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knowledge, that's fine.
MS. BARNES: Okay, fine.

Q. Do you see that there's a difference between --

in the last portion of that paragraph, in Exhibit 1, it

says that the party is precluded from continuing to bid
for a RFP in Zones 1, 2 and 3, correct? That's in Exhibit
1?

MR. HIGGINS: The question is does he see that in
Exhibit 1?

THE WITNESS: That party is precluded from
continuing in the bidding for a RFP in Zones 1, 2 and 3,
is what it says.

MS. BARNES: Okay. And Exhibit 3 -- excuse me.
Yeah, Exhibit 3, that language is different. It says,
shall be -- will be precluded from bidding in the San
Joaquin County RFP for ambulance services.

Do you see that?

A. Yes.
Q. Do you know why the language is different in

Exhibits 1 and 3?

MR. HIGGINS: Object. Calls for a legal
conclusion.

THE WITNESS: No.

MS. BARNES: Q. Do you recall any conversations

‘about changing the language in paragraph four?
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A. Specifically in paragraph four? No.

Q. Do you recall any discussions about whether a
withdrawing party would be precluded from participating in
the RFP process outside of Exhibits 1, 2 and 3 -- excuse
me, outside of Zones 1, 2 and 3?

A. Can you say that question again? I'm sorry.

Q. Yeah. Do you recall any discussions as to
whether a party that withdrew from this partnership would
be precluded from bidding to provide ambulance services
outside of Zones 1, 2 and 3?

A. Yes. :

Q. Okay. What do you recall about those
conversations?

A. If I understand the question, we were always --
Stockton Fire Department was always -- always focussed on
old zones 1, 2 and 3, which is now Zone B.

Q. Uh-huh.

A. And it was our understanding that if somebody
were to withdraw from this Agreement, they could not bid
against their former partners.

Q. For Zones 1, 2 or 3?

MR. HIGGINS: That's argumentative.
MS. BARNES: Q. Well, let me --

MR. HIGGINS: That's not what he testified to.

That's your testimony.
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And for us, of course internally, we looked at

how many calls we went with our own folks, and of course
our ambulance core would have to charge ~- would have to
pay back to the fire department that amount.

So, yes, there was a dollar amount, but the
more important issue was there was actual agreement as
to what marginal costs meant, and that went back and
forth quite a bit.

Q. Were you involved in conversations with AMR as to
this agreement as to marginal costs?

A. Yes.

Q. Who did you talk to about it?

A. Lou Meyer.

Q. Do you recall when you had these conversations
with him?

A. Not specifically. But I do know that I had a
meeting in his office, and that was part of that
conversation in his office. And I had conversations on
the telephone with him about it. And Lou and I came to an
agreement that I had to confirm with my boss, the City

Manager. And I went in to my boss, the City Manager, Mark

‘Lewis, and told him, this is what we want and this is what

‘it means. And he with agreed to that. And I called Lou

and said, "It is done.”

So any time we really had an issue that was a
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difficult issue, it was handled with -- between Lou and
I, or between Lou and Mark Lewis. If there was any
other discussions down below us, that people weren't
‘getting along or whatever or weren't agreeing, it didn't
matter, because the agreement was going to be made

between Mr. Meyer and Mr. Lewis and myself.

Q. What other difficult issues did you discuss with
Mr. Meyer?

A. Oh, shoot. Discussed the city's need to get toa.
certain cost level so that -- in other words, reduce our

costs to the point where AMR felt comfortable that we were
going to be able to submit a competitive bid and not, you
know, be out of whack with what the market was -- was
going to be able to support. That was probably the most
important issue right there.

Q. What did Mr. Meyer tell you about his concerns
about the competitiveness of the bid?

MR. HIGGINS: When? Vague as to time.

MS. BARNES: Q. At any point in time.

A. Excuse me?
Q. At any point in time.
A. .Any point in time. He told me a lot of things.

Lou and I have had lots of conversations over the years.
Most recently, he looked at our budget,

apparently, and he saw how much it would cost, and he
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said under his estimation, we needed to pair X amount of
dollars off of our budget, over a million bucks. And I
meant for the ambulance core itself, for ambulance
division.
“And I told him that we would get there. And

“then I told him the evening that he came to the City
Council and donated two ambulances to our sister city in
Mexico, Empalme, through the City of Stockton, I told
him and Brad White and Barry Elzig that we, in fact,
through negotiations with our Local and other cost
Savings in the budgetary process, that we were going to
get to their number no problem.

Q. After Exhibit 3 was signed, are there any --
excuse me, strike that.

At the time that Exhibit 3 was signed, did you
have any understanding that there were any other items
that needed to be negotiated amongst the parties?

MR. HIGGINS: I think that's been asked and
answered. I think it is also vague.

MS. BARNES: Q. Other than what you've already
testified-to.
A. Quite frankly, in my conversations witn Mr.

Meyer, he occasionally expressed some concern about
individual issues, but he expressed that, for the most

part, when Mark Lewis and I and Lou got into the room
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A. There was -- whatever way we were going to pay
for it, but it was not going to be part of this thing.

Q. And then with respect to che issues that Mr.
Meyer had about the people involved, what did he tell you
about the problems that he had there in that respect?

A. Over several years, he had some general
complaints about my lead guy, Deputy Chief Dave Hafey, and
asked me to replace him with somebody else.

But then after we discussed it, he understood
my position, that this was a young man who I had great
respect and admiration for and needed him in this
position.

And Mr. Hafey had requested to be removed. And
I told him as soon as the ambulance agreement was done
and we were operating, then he could move onto another
area in the fire service.

Lou also suggested that we use, you know, a

“couple other people. But he has to understand we have a

rank structure and we have a civil service structure.
He understood my internal politics problem, also.

So he agreed that though he did not personally

like the individual and he thought the individual was a

problem, he agreed that -- I told him "I'm going to
leave him there. I have to.”

And he said, "That's fine." And that's the
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last it was, between he and I, before the date when he

“informed us that he was going to unilaterally pull out

of the Agreement.

Q. What did Mr. Meyer tell you about why he thought
Mr. Hafey was a problem?

MR. HIGGINS: That misstates his prior
testimony. I object.

THE WITNESS: Can you restate that question?

MS. BARNES: Q. What -- what did Mr. Meyer tell
you about why he wanted Mr. Hafey replaced on this -- on
these negotiations?

A. He told me a lot of different things over a

number of different years.

Q: What did he tell you?
A. I can't recall it all.
Q. Can't recall any specific problems that Mr. Meyer

had with Mr. Hafey?

A. I can recall that he thought that Dave was asking
for things that he was not willing to give, meaning Lou
Meyer or AMR .

And I told: him "Lou, you know the Agreement's
going to be made in Mr. Lewis's office with me." And
then he would calm down and then he would say "Yes, I
understand that.”

He also would relay some comments made by his
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:
That on August 5, 2005, at 1:00 p.m., the witness
herein, W. GARY GILLIS, FIRE. CHIEF, was duly sworn:

That said witness' téstimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
nor related to any of the parties in said action, nor to
their respective counsel;

-~--o000---
On August 8, 2005, all counsel were given notice of the

preparation of the deposition, and the original deposition
‘was available for reading, correcting, approval, or signing

in our offices until September 11, 2005.
~---000---

The witness signed the deposition and made no
corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition.

The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The.witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.

The witness refused to approve or sign the deposition
for the following reasons .

Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
_DATE:
ob bates Rea
BOBBIE JO #ARR, CSR NO. 6090, -RMR
COUNSEL: . YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS. .

